Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 1 of 52




         EXHIBIT
            B
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 2 of 52




                                                                                       PILED     IN
      □FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SJJ~,J;OR Il'f{TIAL .
      PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAVf~R lr:iJtRp ~~ljifY
      COMPLAINT AND JURY DEMAND

       District Court----------.,-,,-~~ County, Colorado
       CourtAddress:.5"C'f !V ~ ~
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       Attorney or Pa)i)S Wjthout ~Jtorney (J>l9m~ Address):                    Case Number:
                    t/a~ C/t~u.1-J~P~:;;-Jg; .
      Phone Number9(C,-:3~t1-l:2'o/'f)
       AX Number:
                                               E-ur7R:   "'~M~~ ~ ab
                                               Atty. Reg. #:

           DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
                                       COMPLAINT,
                 COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
                                    AND JURY DEMAND

     1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
        claim or third party complaint in every district court civil (CV) case. It shall not be filed in
        Domestic Relations (DR), Probate (PR),, Juvenile (JA, JR, JD, JV), or Mental Health (MH)
        cases or in Water (CW) proceedings subject to sections 37-92-302 to 37-92-305, C.R.S. Failure
        to file this cover sheet is not a jurisdictional defect in the pleading but may result in a clerk's
        show cause order requiring its filing.

     2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below if
        this party asserts that C.R.C.P. 16.1 does not apply):

         D    This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
              expedited proceeding, or

         ITT'his party is seeking a monetary judgment against another party of more than $100,000.00,
            exclusive of interest and costs, as supported by the following certification:

                  By my signature below and in compliance with C.R.C.P. 11, based upon infonnation
                  reasonably available to me at this time, I certify that the value of this party's claims
                  against one of the other parties is reasonably believed to exceed $100,000.

         Or



     JDF 601SC R3-22 DISTRICT COURT CIVIL (CV) CASE COVER SHEET        Page 1 of 2
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 3 of 52




           D Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
           to this case.

      3.   D This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
           (Checking this box is optional.)


                                                            ·gnature of Party


     Date:   -------                                     Signature of Attorney for Party (if any) _ _ __

     NOTICE
     This cover sheet must be served on all other parties along with the initial pleading of a
     complaint, counterclaim, cross-claim, or third party complaint.




     JDF 601SC R3-22 DISTRICT COURT CIVIL (CV) CASE COVER SHEET          Page 2 of 2
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 4 of 52




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       V.




                                                                                  Case   ~~e\f l(J~
                                                                                  Division:   i...lo3       Courtroom:   4£ii>
                                        DISTRICT COURT CIVIL SUMMONS




     YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an answer or other response to
     the attached Complaint. If service of the Summons and Complaint was made upon you within the State of
     Colorado, you are required to file your answer or other response within 21 days after such service upon you. If
     service of the Summons and Complaint was made upon you outside of the State of Colorado, you are required to
     file your answer or other response within 35 days after such service upon you. Your answer or counterclaim must
     be accompanied with the applicable filing fee.


     If you fail to file your answer or other response to the Complaint in writing within th            ·        · e period, the
     Court may enter judgment by default against you for the relief demanded in              I                    rther notice.




    This Summons is issued pursuant to Rule 4, C.R.C.P., as amended. A copy of the Complaint must be
    served with this Summons. This form should not be ·used where service by publication is desired.

    WARNING: A valid summons may be issued by a lawyer and it need not contain a court case number, the
    signature of a court officer, or a court seal. The plaintiff has 14 days from the date this summons was served on
    you to file the case with the court. You are responsible for contacting the court to find out whether the case has
    been filed and obtain the case number. If the plaintiff files the case within this time, then you must respond as
    explained in this summons. If the plaintiff files more than 14 days after the date the summons was served on you,
    the case may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.

    TO THE CLERK: If the summons is issued by the clerk of the court, the signature block for the clerk or deputy
    should be provided by stamp, or typewriter, in the space to the left of the attorney's name.

    JDF 600 R10-13    DISTRICT COURT CIVIL SUMMONS
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 5 of 52




      A~rney_ or PartY Without Attorney: (Name & Address)    •      COURT USE ONLY   _.
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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 6 of 52




      D Small Claims D County Court                                                   District Court
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                    J3 0 8 a rfli{ MWL, PIP.6l!&v 1 (n 8f<OO~




     Attorney or Party Without Att~rney: (Name & Address)                                                                        ~       COURT USE ONLY
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         Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 8 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 9 of 52




  Date: _ _ _ _ _ _ _ __
                                                      Signature of   O Petitioner/Plaintiff

                                                      Address


                                                      City, State, Zip Code


                                                      Telephone Number
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 10 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 11 of 52




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       P-Dn~ PPn~
       - VALERIE HARRIS
           PO BOX 72, B-OONE. CO 8102500n
                                                      DATE 06/01/22

       . :-·e·. - TRUUCITY 4.5MG/0.5Ml SDP 05Ml                                      !!!!!!!!
            MFG LIUY
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                       Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 12 of 52




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       nd toe and metatarsal head, ray amputation:·
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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 13 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 14 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 15 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 16 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 17 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 18 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 19 of 52




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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 20 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 21 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 22 of 52




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        Sh                                                                                                                         r
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    .Despite its cheery cartoon scrub brush mm;ic ··.

   •,
        Scrubbing Bubbles bathroom and showef ·                     ''1,   I                                                                              •.':       '   '




   . cleaners should do anything but bring a s                                                                l   •,,,\




    ·. t{)       your eco-loving (~~~i.,:J,:;hese products . · ..
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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 23 of 52




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                                                 Scrubbing B1Jbbles® .
                                                    Disinfectant
                                                 Restroom Clea:ner If
                                                   We Work Hard So You
                                                     Don't Have To!®

                                           • Kills viruses similar to SARS-CoV-2
                                             Coronavirus)A* on hard, non-porous

                                           • When used as directed kills
                                             and bacteria* on hard, nor1-nc,rn1
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 24 of 52



        Know your environment.
        Protect your health.
ewg


                 Scrubbing Bubbles Antibacterial Bathroom Cleaner I FreshCle~n
                                                                        . , ,




                See:   I   c~~~~a~~~~:e Bath.~]          [~rand: Scrubbing Bub,,;    J
Asthma/Respiratory                                                              · ): .

Skin Allergies &
Irritation




Cancer


Environment

How does it rate: Scores for similar cleaners ranged from VERIFIEC:>to    F. Searchfor:~; better Gen
Bathroom Cleaner

Top Scoring Factors: Regulatory violation; May contain ingredients with poter:itial for respiratory eff~cts;'gf
systemic/organ effects; developmental/endocrine/reproductive effects                                 · · ·


      Ingredient Disclosure: poor          Green Certified: [ NO ]


  Product ingredients
 Known Ingredients

 Ingredient                           Health, Environment,
                                      and Disclosure Con.cfirhs


ALKYL DIMETHYL BENZYL
AMMONIUM CHLORIDES
(C12-16)
                    Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 25 of 52




·----   (/)
                                                                                                                                      --
                                                                                          (tel:+18559651688)

   0 Dangerous ~leaning Products
 Home (https://www.hwnn.com) » 10 Dangerous Cleaning Products

 April 5, 2021


                                                                                                                               _..,

                                                                                                                                      r
                                                                                           ONLINE NOW
Cleaning is essential to protecting our health ln our homes, schools, and workplaces. However, cleaning products-incluc               <
 soaps, polishes, and grooming supplies-often include harmful chemicals.                                                              m
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                                                                                              Hi! A live, real person is available
                                                                                              24/7 at no o~ligation.
                                                                                                                                      n
                                                                                                                                      J:
Its important to read labels and avoid dangerous products (https://www.hwnn.com/b1r~-9ham/defect1ve-product-

 lawyer/) or take precautions if you must use them.
                                                                                                                                      ~

10 Dangerous Cleaning Products
You likely have many of these 10 dangerous cleaning products (https://www.rd.com/) in your home:

                                                                                                      Start Chat
1. Conventional All-Purpose Cleaners
 Many cleaners used for stuck-on messes and grease contain glycol ethers, a type of petrochemicals. Glycol ethers can enter

 the bloodstream through inhalation or through the skin, even if you're wearing gloves.
                                                                  I

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                            Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 26 of 52



        _1Jfain     CJeaners
      Drain M~aners contain sodium hydroxide, a toxic and highly corrosive chemical also known as lye. If it touches ye .......m .. 7 o ~
                                                                                              (tel:+18559651688)
                                                                                                                                                                          -
      gets in your eyes, it can cause severe burns.


      If a child swallows a drain cleaner, it qrn damage the stomach and esophagus. The child could need surgery or even die.

     Alternative: Use a mechanical "snake" tool to unclog drains.

     5. Toilet Cleaners
     Products such as Lysol Power Toilet Bowl Cleaner Complete Clean© contain hydrochloric acid, which can burn your eyr:£.                                                            1
                                                                                                                                                                                  l1
                                                                                                                                                                                  .1I

     and skin. Mixing products that contain chlorine with products that contain acids can produc@lhlb.:k!W:J=dMf:0Wne gas.                                                        i Ii
                                                                                                                                                                           n
     Alternatives: Select a cleaner without hydrochloric acid. You can also use vinegar to help keep your toilet clean.                                                    <
                                                                                                                                                                           m
                                                                                                                                       Hi! A live, real person is available ( )

     6. Oven Cleaners                                                                                                     (8           24/7 at no obligation.              J:
                                                                                                                          ~-                                               ~
                                                                                                                                                                           ~
     Oven cleaners contain highly concentrated lye, which is very corrosive. It can burn your skin and eyes and is toxic if
     swallowed.


     Alternative: Use baking soda paste.


~   7. Scrubbing Bubbles©                                                                                                                        Start Chat

     Scrubbing Bubbles© is effective for killing bacteria. But the alkyl dimethyl benzyl ammonium chlorides lD_!:his product cao__,
                                                                                  ,.••                         •   ,u•-    • ..   ~-"::.-=------""-~~




    cause· respiratory problems. Another ingredient, butoxydiglycol is banned in the EU at concentrations over three percent
    ~                 - ~ ~ - ? ...,___...,____-------~------------·---------··--- --------- -·-- - --· - - - - · - - - - - - - - - - - - - - - - - - - • - - ~---- .

    because of its impact on the lungs.
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 27 of 52




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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 28 of 52




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 ~,~,g~r 'review· cot1tained lung-harming ingredients>tn: · '
:{:::·•ff-known carcinogens like formaldehyde and 'chl~r~Q:;.;,'.                                                1:;.


 ·were found in several cleaners. Here is a list of dange.to~:{):;::
· · :deaning products found in most homes.                                                   ·           · · ,, .•.•.•
                                                                                                          ·: •'.·-.:_::,\/i~·1?r:·
                                                  1. Scrubbing Bubbles - .        /\(:;::
                                                  Anti bacteria I Bathroom: Clea~~;;:,;;
                                                  & Extend-A-Clean Mega                              sh~£~
                                                  Foamer (Banned Abroad)' ::;:::::i:'.·:f){J:::i
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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 29 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 30 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 31 of 52
                      Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 32 of 52


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                                                                                                                                                             POSTAGE WILL BE PAID BY ADDRESSEE

                                                                                                                                            S. C. Johnson & Son, Inc.
                                                                                                                                            Mail Station No.          048
                                                                                                                                            1525 Howe Street
                                                                                                                                            Racine, Wisconsin 53403-9986




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Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 33 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 34 of 52




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       THO~I..\S P. SCHL'LT
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       KIRK A. PETERS01"                                    2600 GR-\\'D BOl'LE\'ARD • Sl'ITE !200                JENNIFER 8 \l'IELA~0
    J0C'EL YN A. VILL..\Nl'E\'A                                                                                     L.Al)RA K. BROOKS
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                                                                                                                   MEGAS D. COSTELLO
      STEPHEN M. BLEDSOE                                         TELEPHONE: (816) 561-7007                        Tl~I0TH\' D. W..\LL1\'ER
      ANTHo~·y J. DLRONE
                                                                 FACSl!\IILE: (816) 561-1888                      CARSON     M.   HINDERKS
     .TIMOTHY   S.   MILL~IAS
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    KATHLEEI\ M. NE"ECHEK                                                                                           BL.\KE P. SAFFELS
         NICK .I. KL'RT                                                                                             ll'ILL1t1:,1 L. HL'PP




   Thomas P. Schult
   tsch ult@berkowitzoliver.com
   Direct Dial: (816) 627-0239


                                                                     September 14, 2022

   VIA E-MAIL AND U.S. MAIL

   Ms. Valerie Harris-Pantaleo
   P.O. Box 72
   Boone. Colorado 81025

                                Re:    Your Claim/or Compensation

   Dear Ms. Harris-Pantaleo:

           SC Johnson has asked me to respond to your letter of August 23. 2022, relating to your
   claim for compensation that \Vas denied by SC Johnson in July 2021.

           Thank you for confirming that when you \\Tote your letter you were not represented by
   an attorney. It would not be appropriate for me to communicate directly with you if you ha\·e an
   attorney. If since the date of your letter you have hired a lawyer to fmiher prosecute your claim,
   please take this letter to her or him.

            SC Johnson denied your claim because the injuries you described would not occur if you
   came in contact with the product while using it to clean your shower. As SC Jolmson explained
   in its denial letter, the formula of the Scrubbing BubblesR product does not cause injury ,vhen the
   product is used as intended. This popular product is used millions of times each year without
   incident.

           Before denying the claim. SC Johnson·s Consumer Relationship Center representati\'es
   working with you asked you to provide medical records and information to suppo1i your
   allegations. The information you provided ,vas carefully analyzed and did not supp01i that the
   product caused your injuries.




  '.'.600 Grand Boulevcrd Sui!e 1200   !':1.r.s2s City,   MO 6°108      816   56',   7007   816   56'1   1888
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 35 of 52




                                              LLP
  Ms. Valerie Harris-Pantaleo
  September 14, 2022
  Page 2


          So that you can decide \vhether to pursue legal action against SC Johnson. YVe want to be
  clear that SC Johnson stands by its denial of your claim.

        Although your claim \:Vas denied. SC Johnson and its CRC representatives \:Vho have
  worked \\'ith you hope you are continuing to reco\'er from the injury you sustained in December
  2020,

                                               Sincerelv.


                                               \\t{~
                                               Thomas P. Schult

  TPS/sal
 Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 36 of 52


                                 Valerie Harris <valharris456@gmail.com>
   ,~~t; ..                      Monday, October 03, 2022 3:04 PM
   +ir::                         va1harris456@gmail.com; Jeggering23@gmail.com; CSR
>:su~J.~ct: ·.                   Fwd: Your Inquiry About Scrubbing Bubbles® BathroomCleanerr-1,~,.,"'"
                                 020383087H




  S.erit from    my iPh011e
  Begin forwarded message:

            From: Valerie Harris <valharris456@gmai1.com>
            Date: October 3, 2022 at 2:35:24 PM MDT
            To: valharris456@gmail.com
            Subject: Fwd: Your Inquiry About Scrubbing Bubbles® Bathroom Clea
           Ref#020383087H                                                         .



           Sent from my iPhone
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 37 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 38 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 39 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 40 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 41 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 42 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 43 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 44 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 45 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 46 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 47 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 48 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 49 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 50 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 51 of 52
Case No. 1:23-cv-00440-RM-MDB Document 5 filed 02/16/23 USDC Colorado pg 52 of 52
